Court of Appeals
of the State of Georgia

                                      ATLANTA,____________________
                                               August 27, 2024

The Court of Appeals hereby passes the following order:

A25E0012. CHAD MYERS v. STATE OF GEORGIA.

      On August 27, 2024, Chad Myers petitioned this Court for the purpose of
obtaining a ruling from the Cobb Co. Superior Court on his April 27, 2024 motion to
modify his sentence.


      The petition does not meet the requirements of Court of Appeals Rule 40 (c)
and is therefore DISMISSED. See Brown v. Johnson, 251 Ga. 436, 436 (306 SE2d 655)
(1983) (dismissing a petition for mandamus when no “final decision” had been
obtained from the superior court).




                                      Court of Appeals of the State of Georgia
                                        Clerk’s Office, Atlanta,____________________
                                                                    08/27/2024
                                                 I certify that the above is a true extract from
                                      the minutes of the Court of Appeals of Georgia.
                                                Witness my signature and the seal of said court
                                      hereto affixed the day and year last above written.


                                                                                        , Clerk.
